Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 1 of 22 Page ID
                                #:24400


 1   Marc M. Seltzer (54534)                  Howard Langer (Pro Hac Vice)
     mseltzer@susmangodfrey.com               hlanger@langergrogan.com
 2   SUSMAN GODFREY L.L.P.                    LANGER GROGAN AND DIVER PC
     1900 Avenue of the Stars, Suite 1400     1717 Arch Street, Suite 4020
 3   Los Angeles, CA 90067-6029               Philadelphia, PA 19103
     Phone: (310) 789-3100                    Tel: (215) 320-5660
 4   Fax: (310) 789-3150                      Fax: (215) 320-5703
 5   Scott Martin (Pro Hac Vice)
     smartin@hausfeld.com
 6   HAUSFELD LLP
     33 Whitehall Street, 14th Floor
 7   New York, NY 10004
     Tel: (646) 357-1100
 8   Fax: (2121) 202-4322
 9
     [Additional Counsel on Signature Page]
10
     Plaintiffs’ Co-Lead Counsel
11
12                        UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14
15   IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668−PSG (JEMx)
     LEAGUE’S “SUNDAY TICKET”
16   ANTITRUST LITIGATION
17
                                              MEMORANDUM IN SUPPORT OF
18   THIS DOCUMENT RELATES TO ALL             PLAINTIFFS’ MOTION TO
     ACTIONS                                  DISQUALIFY NFL EXPERT DR.
19                                            ALI YURUKOGLU
20                                            JUDGE: Hon. Philip S. Gutierrez
                                              DATE: January 27, 2023
21                                            TIME: 1:30 p.m.
                                              COURTROOM:
22                                                First Street Courthouse
                                                  350 West 1st Street
23                                                Courtroom 6A
                                                  Los Angeles, CA 90012
24
25
26
27
28


     11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 2 of 22 Page ID
                                #:24401



 1                                            TABLE OF CONTENTS
 2   INTRODUCTION ..................................................................................................... 1
 3   BACKGROUND ....................................................................................................... 2
 4            I.       Dr. Yurukoglu’s Confidential Consulting Role In The
                       Laumann And Garber Cases. ............................................................... 2
 5
              II.      Dr. Yurukoglu’s Involvement In—And The Relevance of
 6                     Laumann To—The Present Case. ......................................................... 4
 7   LEGAL STANDARD ............................................................................................... 6
 8   ARGUMENT ............................................................................................................. 7
 9            I.       A Confidential Relationship Existed With Dr. Yurukoglu In
                       The Laumann Case................................................................................ 7
10
              II.      Confidential Information Was Disclosed to Dr. Yurukoglu
11                     That Is Relevant to This Case. ............................................................ 10
12            III.     Policy Considerations Support Dr. Yurukoglu’s
                       Disqualification. .................................................................................. 12
13
              IV.      The Court Should Compel the Production of
14                     Communications Between Dr. Yurkoglu and the NFL. ..................... 15
15   CONCLUSION........................................................................................................ 16
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                                ii
     11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 3 of 22 Page ID
                                #:24402


                                         TABLE OF AUTHORITIES
 1
                                                                                                            Page(s)
 2
     Cases
 3
 4   Alien Tech Corp. v. Intermec, Inc.,
        2007 WL 4261972 (D.N.D. Nov. 30, 2017)....................................................... 12
 5
     Bell N. Research, LLC v. ZTE Corp.,
 6      2019 WL 1590472 (S.D. Cal. Apr. 12, 2019) ............................................. passim
 7   Broadcom Corp. v. Emulex Corp.,
        2010 WL 11465478 (C.D. Cal. Apr. 5, 2010) ............................................. passim
 8
     Calendar Research LLC v. StubHub, Inc.,
 9     2017 WL 10378337 (C.D. Cal. Sept. 22, 2017) ............................................. 8, 12
10   Campbell Indus. v. M/V Gemini,
       619 F.2d 24 (9th Cir. 1980) ............................................................................ 6, 15
11
     Cordy v. Sherwin-Williams Co.,
12     156 F.R.D. 575 (D.N.J. 1994) ............................................................................ 16
13   Erickson v. Newmar Corp.,
        87 F.3d 298 (9th Cir. 1996) ............................................................................ 1, 16
14
     Garber v. Office of the Commissioner of Baseball,
15     No. 1:12-cv-03704-VEC (S.D.N.Y.) .................................................................... 2
16   Godby v. U.S. Dist. Ct. for Dist. of Ariz.,
       229 F.3d 1157, 2000 WL 975184 (9th Cir. 2000).............................................. 15
17
     Grant Heilman Photography, Inc. v. McGraw-Hill Global Education Holdings,
18     LLC,
       2018 WL 2065060 (E.D. Pa. 2018) .................................................................... 16
19
     Hobley v. Burge,
20     433 F.3d 946 (7th Cir. 2006) ................................................................................ 9
21   In re Nat’l Football League’s Sunday Ticket Antitrust Litig.,
        933 F.3d 1136 (9th Cir. 2019) .............................................................................. 4
22
     Kane v. Chobani, Inc.,
23     2013 WL 3991107 (N.D. Cal. Aug. 2, 2013) ..................................................... 16
24   Koch Refining Co. v. Jennifer L. Boudreau M/V,
       85 F.3d 1178 (5th Cir. 1996) ...................................................................... 7, 9, 10
25
     Laumann v. Nat’l Hockey League,
26     105 F. Supp. 3d 384 (S.D.N.Y. 2015) .............................................................. 2, 3
27   Laumann v. Nat’l Hockey League,
       907 F. Supp. 2d 465 (S.D.N.Y. 2012) .................................................................. 2
28

                                                            iii
     11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 4 of 22 Page ID
                                #:24403


     Laumann v. Nat’l Hockey League,
 1     No. 1:12-cv-01817-SAS, Dkt. No. 113 (S.D.N.Y. Jan. 28, 2013) ....................... 3
 2   Laumann v. Nat’l Hockey League,
       No. 1:12-cv-01817-SAS, Dkt. No. 298 (S.D.N.Y. Jan. 14, 2015) ....................... 4
 3
     Laumann v. Nat’l Hockey League,
 4     No. 1:12-cv-01817-SAS, Dkt. No. 379 (S.D.N.Y. Sept. 1, 2015) ....................... 2
 5   Lexington Luminance LLC v. Feit Elec. Co.,
        2020 WL 10052401 (C.D. Cal. June 12, 2020).................................................... 9
 6
     M&T Bank v. Worldwide Supply LLC,
 7     2022 WL 16743689 (D.N.J. June 28, 2022) ...................................................... 14
 8   Marvin Lumber & Cedar Co. v. Norton Co.,
       113 F.R.D. 588 (D. Minn. 1986) .......................................................................... 7
 9
     Natural-Immunogenics Corp. v. Newport Trial Grp.,
10     2018 WL 6137633 (C.D. Cal. Apr. 23, 2018) ...................................................... 9
11   Nijjar v. General Star Indemnity Co.,
        2014 WL 271630 (C.D. Cal. Jan. 23, 2014)....................................................... 14
12
     Nike, Inc. v. Adidas Am. Inc.,
13      2006 WL 5111106 (E.D. Tex. Sept. 29, 2006) .................................................... 9
14   Pellerin v. Honeywell Int’l Inc.,
        2012 WL 112539 (S.D. Cal. Jan. 12, 2012) ....................................................... 14
15
     Rhodes v. E.I. Du Pont De Nemours & Co.,
16     558 F. Supp. 2d 660 (S.D. W. Va.) .............................................................. 11, 12
17   Shadow Traffic Network v. Superior Court,
        24 Cal. Rptr. 693 (Ct. App. 1994) ...................................................................... 16
18
     Stencel v. Fairchild Corp.,
19      174 F. Supp. 2d 1080 (C.D. Cal. 2001) ................................................................ 7
20   Thompson, I.G., L.L.C. v. Edgetech I.G., Inc.,
       2012 WL 3870563 (E.D. Mich. Sept. 6, 2012) ............................................ 10, 15
21
     Veazey v. Hubbard,
22     2008 WL 5188847 (D. Haw. Dec. 11, 2008) ............................................... 6, 7, 8
23   W.R. Grace & Co. v. Gracecare, Inc.,
       152 F.R.D. 61 (D. Md. 1993) ............................................................................... 8
24
     Rules
25
26   Fed. R. Civ. P. 26(b)(4)(D) ........................................................................................ 9
27   Other Authorities

28   Hour Peddling Mega-Mergers, ProPublica (Nov. 16, 2016) .................................. 14

                                                               iv
     11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 5 of 22 Page ID
                                #:24404



 1                                    INTRODUCTION
 2           The NFL improperly retained an expert—Dr. Ali Yurukoglu—who had a
 3   previous confidential consulting relationship with Plaintiffs’ counsel (and, through
 4   them, putative class members) regarding the economic modeling of sports media.
 5   As a result of that relationship, Dr. Yurukoglu was exposed to a treasure trove of
 6   work-product protected materials regarding litigation strategy and case theories.
 7   The relevance of that prior consulting relationship can hardly be denied: the NFL
 8   cites to that prior case—often in conjunction with Dr. Yurukoglu’s opinions in the
 9   instant case—repeatedly throughout its class certification opposition and Daubert
10   motions. Dr. Yurukoglu’s opinions are therefore clouded by a conflict of interest
11   that undermines the integrity of this litigation. “The Court cannot allow an expert to
12   attempt to divide his loyalties in this way” and should disqualify him as a result.
13   See Bell N. Research, LLC v. ZTE Corp., 2019 WL 1590472, at *7 (S.D. Cal. Apr.
14   12, 2019) (citing Erickson v. Newmar Corp., 87 F.3d 298, 303 (9th Cir. 1996)). Dr.
15   Yurukoglu must be disqualified.
16           Moreover, Dr. Yurukoglu testified that he had discussed his prior consulting
17   engagement with the NFL’s counsel in this case, some of whom also represented
18   the defendants in the case that Dr. Yurukoglu previously consulted on. Despite (or
19   perhaps because of) their awareness of Dr. Yurukoglu’s past interactions with
20   Plaintiffs’ counsel in a highly relevant case, the NFL’s counsel retained him for this
21   case. This retention inevitably resulted in the disclosure of confidential information
22   and attorney work product to the NFL and its lawyers. Thus, the NFL and its
23   counsel have transformed Dr. Yurukoglu into a paid informant for work-product
24   protected materials. As a result, the Court may ultimately need to disqualify the
25   NFL’s counsel. To assess whether such a step is warranted, the Court should permit
26   disclosure of all communications between Dr. Yurukoglu and the NFL—and permit
27   a second deposition of Dr. Yurukoglu—to determine the extent to which
28   confidential material was shared or used in advising the NFL’s counsel.

                                               1
     11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 6 of 22 Page ID
                                #:24405



 1                                    BACKGROUND
 2   I.      Dr. Yurukoglu’s Confidential Consulting Role In The Laumann And
             Garber Cases.
 3
             In 2012, one of the lead counsel for Plaintiffs in this matter commenced two
 4
     class actions in the U.S. District Court for the Southern District of New York
 5
     against the National Hockey League and Major League Baseball: Laumann v.
 6
     National Hockey League, No. 1:12-cv-01817-SAS (S.D.N.Y.); and Garber v. Office
 7
     of the Commissioner of Baseball, No. 1:12-cv-03704-VEC (S.D.N.Y.).1 Those
 8
     cases alleged antitrust violations due to the leagues’ restrictions on game broadcasts
 9
     that, as in the instant case, unreasonably reduced output and raised prices for their
10
     out-of-market game packages. The leagues, the teams within the leagues, various
11
     regional sports networks, Comcast, and, as here, DIRECTV, were named
12
     defendants in the Laumann action. See Laumann v. Nat’l Hockey League, 907 F.
13
     Supp. 2d 465, 471-76 (S.D.N.Y. 2012) (summarizing allegations). Howard Langer,
14
     Edward Diver, and Peter Leckman of Langer, Grogan & Diver, P.C. (“Langer
15
     Grogan & Diver”)—who also represent the Plaintiffs in the instant case—
16
     represented the plaintiffs in Laumann. Howard Langer, who is one of the co-lead
17
     counsel for Plaintiffs in the present case, served as lead counsel in Laumann. Beth
18
     Wilkinson, who represents the NFL in this case, represented Major League Baseball
19
     in Laumann.
20
             The court in Laumann certified an injunctive class on May 14, 2015. See
21
     Laumann v. Nat’l Hockey League, 105 F. Supp. 3d 384, 387-88 (S.D.N.Y. 2015).
22
     Soon thereafter, a class settlement was reached and the Laumann court granted final
23
     approval in September 2015. See Laumann v. Nat’l Hockey League, No. 1:12-cv-
24
     01817-SAS, Dkt. No. 379 (S.D.N.Y. Sept. 1, 2015).
25
26
27
     1
       Laumann and Garber were consolidated. Plaintiffs hereafter refer to the
28   consolidated action as “Laumann.”
                                               2
     11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 7 of 22 Page ID
                                #:24406



 1           In May 2012, shortly after the commencement of the Laumann action,
 2   Langer Grogan & Diver retained Dr. Yurukoglu as a consulting expert and agreed
 3   to compensate him at $600 per hour for his time. See Diver Decl. ¶ 2, Ex. 1. Upon
 4   his retention, Langer Grogan & Diver further explained to Dr. Yurukoglu—as is its
 5   practice any time it retains an expert—that his work would require confidentiality.
 6   See id. ¶ 3.
 7           From the very beginning, Dr. Yurukoglu was involved—in consultation with
 8   Langer Grogan & Diver—in legal strategy decisions in Laumann. Attorneys at
 9   Langer Grogan & Diver shared their mental processes with Dr. Yurukoglu on what
10   data to request and how to structure an appropriate economic model for the case,
11   and asked Dr. Yurukoglu for his input on those critical decisions. See id. ¶¶ 4-10.
12   When the data came in, Dr. Yurukoglu signed onto the protective order in
13   Laumann, further acknowledging the need to maintain confidentiality. See id. ¶ 5,
14   Ex. 2. The protective order in Laumann continues to be in effect today. See
15   Protective Order, Laumann v. Nat’l Hockey League, No. 1:12-cv-01817-SAS, Dkt.
16   No. 113 at ¶ 19 (S.D.N.Y. Jan. 28, 2013) (“The termination of this action shall not
17   relieve counsel or other persons obligated hereunder from their responsibility to
18   maintain the confidentiality of Restricted Information pursuant to this Order[.]”).
19           Dr. Yurukoglu was a regular participant in calls addressing economic
20   modeling issues and strategies throughout the period leading up to the class
21   certification hearing in which attorneys from Langer Grogan & Diver also
22   participated and shared their ideas. See Diver Decl. ¶¶ 4-6. Dr. Yurukoglu coded
23   certain portions of the Plaintiffs’ damages model. See id. ¶ 6. In fact, when the
24   plaintiffs in Laumann changed economists, Dr. Yurukoglu—as a consulting
25   expert—remained. See id. ¶ 7. 2
26
27
     2
      The model Dr. Yurukoglu helped design was ultimately excluded by the Court in
     Laumann. See Laumann, 105 F. Supp. 3d at 387-88. The damages models Plaintiffs
28   have presented here are of a different type than those proffered in Laumann. They
                                               3
     11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 8 of 22 Page ID
                                #:24407



 1           Dr. Yurukoglu also reviewed all of the relevant expert reports in Laumann, as
 2   well as the Daubert motion seeking to exclude plaintiffs’ expert Roger Noll. He
 3   participated in calls with attorneys from Langer Grogan & Diver on how to respond
 4   to the Daubert motion and the arguments made by the defendants’ experts. See id. ¶
 5   8. Moreover, Dr. Yurukoglu participated in a strategy call to prepare a Langer
 6   Grogan & Diver attorney to depose the defendants’ key economic modeling expert.
 7   See id. ¶ 9.
 8           In sum, Dr. Yurukoglu consulted in the Laumann action for over two years
 9   and billed Langer Grogan & Diver nearly $40,000 for his time on the case. See id. ¶
10   10, Ex. 3-8. Over that time, Dr. Yurukoglu had repeated contact with Langer
11   Grogan & Diver attorneys and was exposed to their mental processes and strategic
12   decision making. See id. ¶¶ 4-10.3
13   II.     Dr. Yurukoglu’s Involvement In—And The Relevance of Laumann To—
             The Present Case.
14
             Much like the allegations in Laumann, the Plaintiffs allege that the NFL, its
15
     member clubs, and DIRECTV entered into an interlocking web of agreements that
16
     unreasonably constrain the number of game broadcasts available to viewers and
17
     increases the price for its out-of-market package named NFL Sunday Ticket. See In
18
     re Nat’l Football League’s Sunday Ticket Antitrust Litig., 933 F.3d 1136, 1143-49
19
20   also address the court’s concern in Laumann that the data did not adequately
21   account for a broad-enough spectrum of consumers by including all DirecTV
     subscribers and also conducting a survey including non-DirecTV consumers. See
22   Expert Report of J. Douglas Zona, Dkt. No. 633-3. Plaintiffs have also offered a
23   yardstick model—Dr. Rascher’s “College Football But-For World”—that is not
     reliant on econometric modeling. See Expert Report of Daniel A. Rascher, Dkt. No.
24   633-4.
25
     3
       Dr. Yurukoglu’s involvement in Laumann was public and certainly known to the
     defendants in that case. See Reply Decl. of Roger G. Noll, Laumann v. Nat’l
26   Hockey League, No. 1:12-cv-01817-SAS, Dkt. No. 298 at 2 (S.D.N.Y. Jan. 14,
27   2015). Given that counsel for the NFL in this case also represented defendants in
     Laumann, it would appear that the NFL retained Dr. Yurukoglu precisely because
28   of his work in Laumann.
                                               4
     11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 9 of 22 Page ID
                                #:24408



 1   (9th Cir. 2019). Plaintiffs filed a motion for class certification on August 19, 2022.
 2   See Dkt. No. 628.
 3           On November 4, 2022, the NFL filed its opposition to class certification as
 4   well as three Daubert motions to exclude the opinions of each of Plaintiffs’ expert
 5   witnesses. See Dkt. Nos. 674, 678, 682, 686. That was the first time the NFL
 6   disclosed its experts in this case and, therefore, was the first time Plaintiffs—
 7   including their attorneys at Langer Grogan & Diver—learned that the NFL intended
 8   to offer the opinions of Dr. Yurukoglu. The NFL especially relies on Dr.
 9   Yurukoglu’s opinions in contesting the economic models proffered by Plaintiffs’
10   expert Dr. Douglas Zona. Not only does the NFL’s Daubert motion against Dr.
11   Zona rely extensively on Dr. Yurukoglu’s analysis, but it also cites Laumann
12   repeatedly (despite Plaintiffs offering different models in this case). See generally
13   Dkt. No. 678-1 (unredacted version). Similarly, the NFL’s opposition to class
14   certification cites to both the Laumann case and Dr. Yurukoglu’s opinions in the
15   same paragraph. See Dkt. No. 686 at 13 (redacted version).
16           Plaintiffs deposed Dr. Yurukoglu on November 18, 2022. During his
17   deposition, Dr. Yurukoglu admitted that he was hired by Langer Grogan & Diver
18   and consulted on economic modeling in Laumann. See Depo. Tr., Diver Decl. Ex.
19   9, at 16.19-16.24, 18.25-19.9, 20.15-20.19. And while Dr. Yurukoglu claimed he
20   could not recall whether he assisted Langer Grogan & Diver in formulating data
21   requests, responding to defendants’ challenges, or preparing the attorneys to depose
22   the defendants’ experts, he did not deny involvement in the tasks that Langer
23   Grogan & Diver claims he participated in. See id. at 19.23-20.14, 20.20-21.11; see
24   also Diver Decl. ¶¶ 4-9. In fact, Dr. Yurukoglu’s invoices to Langer Grogan &
25   Diver in Laumann indicate he was involved in those tasks. See Diver Decl. ¶ 10,
26   Ex. 3-8. In any event, Dr. Yurukoglu acknowledged that he was privy to
27   confidential information and participated in confidential communications with
28   Langer Grogan & Diver as part of his work on the Laumann case:

                                               5
     11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 10 of 22 Page ID
                                 #:24409



  1           Q:      Did you receive confidential information in that case?
  2           A:      Yes.
  3           Q:      Did you have confidential communications with counsel for plaintiffs?
  4           A:      Yes.
  5   See Diver Decl. Ex. 9 at 22.23-23.3.
  6           Dr. Yurukoglu went on to admit that he had discussed his prior engagement
  7   in the Laumann case with the NFL’s counsel in this case, see id. at 23.8-23.10,
  8   some of whom were also involved in the Laumann case. Beyond that, though, the
  9   NFL’s counsel instructed Dr. Yurukoglu not to answer any further questions
 10   regarding his communications with the NFL or its counsel, including the extent to
 11   which he discussed his prior work on Laumann with them. See id. at 23.11-23.25,
 12   24.11-25.2.
 13           At his deposition, Dr. Yurukoglu confirmed that he billed Langer Grogan &
 14   Diver between $30,000 and $40,000 for his work on Laumann, and confirmed that
 15   his work on the case was over the span of multiple years. See id. at 24.2-24.10.
 16                                    LEGAL STANDARD
 17           “A district court is vested with broad discretion to make discovery and
 18   evidentiary rulings conducive to the conduct of a fair and orderly trial,” which
 19   includes the power to exclude expert witnesses. Campbell Indus. v. M/V Gemini,
 20   619 F.2d 24, 27 (9th Cir. 1980). “The Ninth Circuit has not established a bright line
 21   rule for analyzing whether an expert witness should be excluded, but several district
 22   courts have held that disqualification is warranted based on a prior relationship with
 23   an adversary if (1) the adversary had a confidential relationship with the expert and
 24   (2) the adversary disclosed confidential information to the expert that is relevant to
 25   the current litigation.” Bell, 2019 WL 1590472, at *3 (quotation marks omitted);
 26   see also Broadcom Corp. v. Emulex Corp., 2010 WL 11465478, at *1 (C.D. Cal.
 27   Apr. 5, 2010); Veazey v. Hubbard, 2008 WL 5188847, at *4-5 (D. Haw. Dec. 11,
 28   2008). Notably, the standard does not require showing actual disclosure of

                                                  6
      11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 11 of 22 Page ID
                                 #:24410



  1   confidential information; the potential for such disclosure is sufficient. See Bell,
  2   2019 WL 1590472, at *7 (collecting cases regarding risk of disclosure); Marvin
  3   Lumber & Cedar Co. v. Norton Co., 113 F.R.D. 588, 591 (D. Minn. 1986) (“The
  4   rules governing disqualification are designed to protect against the potential breach
  5   of such confidences, even without any predicate showing of actual breach.”).
  6   “Courts should also consider prejudice to both parties and whether disqualification
  7   would promote the integrity of the legal process.” Broadcom, 2010 WL 11465478,
  8   at *1. The party seeking disqualification bears the burden of proof. Stencel v.
  9   Fairchild Corp., 174 F. Supp. 2d 1080, 1083 (C.D. Cal. 2001).
 10                                      ARGUMENT
 11   I.      A Confidential Relationship Existed With Dr. Yurukoglu In The
              Laumann Case.
 12
              A moving party “must prove that it was objectively reasonable for it to
 13
      believe that a confidential relationship existed.” Id. “The primary reason courts look
 14
      for a confidential relationship is to determine whether it was reasonable to divulge
 15
      confidential information to the party to be disqualified.” Broadcom, 2010 WL
 16
      11465478, at *2. While relevant to the analysis, “the existence (or absence) of a
 17
      contract between the parties is not determinative.” Stencel, 174 F. Supp. 2d at 1083.
 18
      In fact, “[t]he party seeking disqualification need not show that it actually retained
 19
      the expert.” See Veazey, 2008 WL 5188847, at *5. The focus is on whether it was
 20
      reasonable for Langer Grogan & Diver to expect that its communications with Dr.
 21
      Yurukoglu would be confidential. See id. In making this determination, courts look
 22
      to a variety of considerations, including: whether the relationship was long standing
 23
      or just a single interaction; whether the expert was retained; whether the expert was
 24
      paid a fee; whether the expert will be called as a witness in the present case; and
 25
      whether work product was discussed with the expert. See Veazey, 2008 WL
 26
      5188847, at *5; see also Stencel, 174 F. Supp. 2d at 1083; Koch Refining Co. v.
 27
      Jennifer L. Boudreau M/V, 85 F.3d 1178, 1182 (5th Cir. 1996).
 28

                                                7
      11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 12 of 22 Page ID
                                 #:24411



  1           Dr. Yurukoglu’s substantial involvement in Laumann overwhelmingly
  2   demonstrates that such an expectation was reasonable. Dr. Yurukoglu was retained
  3   by Langer Grogan & Diver to perform services as a consultant in Laumann over the
  4   span of nearly three years. Langer Grogan & Diver paid Dr. Yurukoglu nearly
  5   $40,000 to perform those services. See Diver Decl. ¶¶ 4-10, Ex. 3-8, Ex. 9 at 24.2-
  6   24.10. Over that period, Langer Grogan & Diver attorneys communicated with Dr.
  7   Yurukoglu on several issues, including the deposition of the defendants’ expert, the
  8   economic modeling for plaintiffs in the case, the data to acquire for that modeling,
  9   and how to respond to defendants’ Daubert motions and expert reports. See Diver
 10   Decl. ¶¶ 4-9. Dr. Yurukoglu confirmed that he was privy to confidential
 11   communications with plaintiffs’ counsel in the Laumann case. See Diver Decl. Ex.
 12   9 at 22.23-23.3. He also signed onto the protective order in the Laumann case,
 13   which remains in effect today. See Diver Decl. Ex. 2. In light of these
 14   circumstances, there can be no question that Langer Grogan & Diver expected its
 15   communications with Dr. Yurukoglu to be confidential. See Calendar Research
 16   LLC v. StubHub, Inc., 2017 WL 10378337, at *2-3 (C.D. Cal. Sept. 22, 2017)
 17   (finding confidential relationship existed where expert agreed to keep information
 18   confidential, interaction between counsel and expert was not limited to a single
 19   interaction, and where relationship lasted several months).
 20           Courts have often disqualified experts on far less compelling facts. In Veazey
 21   v. Hubbard, for example, defendant’s counsel in a personal injury case spoke
 22   “briefly” about the case in a phone call with a potential expert without any follow-
 23   up and without any formal retainer. The court nevertheless held a confidential
 24   relationship existed and disqualified the expert. See Veazey, 2008 WL 5188847, at
 25   *5-6. Similarly, another court disqualified an expert even where the duration of the
 26   relationship was minimal and “[n]o confidences at all may have passed.” W.R.
 27   Grace & Co. v. Gracecare, Inc., 152 F.R.D. 61, 65 (D. Md. 1993).
 28

                                                 8
      11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 13 of 22 Page ID
                                 #:24412



  1           Dr. Yurukoglu’s status as a consulting expert in Laumann further confirms
  2   that communications between him and Langer Grogan & Diver would be treated as
  3   confidential. Contrary to testifying experts, the “facts known or opinions held” by
  4   consulting experts are afforded greater protection under the Federal Rules of Civil
  5   Procedure. See Fed. R. Civ. P. 26(b)(4)(D); see also Lexington Luminance LLC v.
  6   Feit Elec. Co., 2020 WL 10052401, at *8 (C.D. Cal. June 12, 2020) (“Consistent
  7   with the rule, the identity and work product of non-testifying experts are not
  8   generally discoverable.”). Given that courts have found a confidential relationship
  9   to exist with testifying experts, it only stands to reason that a confidential
 10   relationship is more likely to exist with a non-testifying consultant. See, e.g., Nike,
 11   Inc. v. Adidas Am. Inc., 2006 WL 5111106, at *3 (E.D. Tex. Sept. 29, 2006) (“The
 12   mere fact that a witness is designated as a testifying witness does not control
 13   whether confidential communications were waived.”).
 14           To the extent the NFL argues that disqualification requires the party seeking
 15   disqualification to be identical to the one that retained the expert in a prior case, that
 16   argument is wrong for at least three reasons. First, the caselaw does not require the
 17   party to be identical. See Koch Refining, 85 F.3d at 1181 (disqualifying expert
 18   retained by different party than the one seeking disqualification). Second, the
 19   attorneys at Langer Grogan & Diver have an independent interest in privacy and
 20   may independently invoke work product protection—even when the client has
 21   waived such protection. See Hobley v. Burge, 433 F.3d 946, 949 (7th Cir. 2006) (“It
 22   is well-established that the work-product privilege may be invoked by either the
 23   client or the attorney.”); Natural-Immunogenics Corp. v. Newport Trial Grp., 2018
 24   WL 6137633, at *12 (C.D. Cal. Apr. 23, 2018). Third, a class was certified in
 25   Laumann and one of the putative class representatives in this action—Mucky
 26   Duck—subscribed to both NHL Center Ice and MLB Extra Innings during the
 27   relevant class period. See Diver Decl. Ex. 10 at 72.8-72.11, 73.12-14; Baker Decl.
 28   Ex. 1. Similarly, at least one of the class representatives in Laumann, Vincent

                                                  9
      11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 14 of 22 Page ID
                                 #:24413



  1   Birbiglia, was a Sunday Ticket subscriber and would be a member of the proposed
  2   class in this case. See Diver Decl. ¶ 12. As a result, there is at least some overlap
  3   between the plaintiffs in Laumann and in this case.
  4           Dr. Yurukoglu signed a retainer agreement with Langer Grogan & Diver,
  5   agreed to abide by a protective order that remains in effect today, conferred with
  6   attorneys from Langer Grogan & Diver on litigation strategy over multiple years on
  7   the economic modeling of sports media rights (including how to respond to defense
  8   arguments and depose defense experts on such modeling), admitted that he was
  9   involved in confidential communications with the plaintiffs’ lawyers in Laumann,
 10   and was paid nearly $40,000 to perform that work as a consulting expert. This is
 11   not a situation where “the expert met but once with counsel, was not retained, was
 12   not supplied with specific data relevant to the case, and was not requested to
 13   perform any services.” Koch Refining, 85 F.3d at 1182 (quotation marks omitted).
 14   Instead, the “record supports a longstanding series of interactions, which have more
 15   likely than not coalesced to create a basic understanding of the retaining party’s
 16   modus operandi, patterns of operations, decision-making process, and the like.” Id.
 17   (quotation marks and alteration omitted). As a result, it was reasonable for Langer
 18   Grogan & Diver to expect that its communications with Dr. Yurukoglu would be
 19   confidential.
 20   II.     Confidential Information Was Disclosed to Dr. Yurukoglu That Is
              Relevant to This Case.
 21
              “Confidential information is information which is of either particular
 22
      significance or that which can be readily identified as either attorney work product
 23
      or within the scope of the attorney-client privilege.” Bell, 2019 WL 1590472, at *5.
 24
      Such communications involve an attorney’s litigation strategy, the relative strengths
 25
      and weaknesses of arguments in a case, and any other information that would be
 26
      protected as attorney work product. See id. at *5-6; Broadcom, 2010 WL 11465478,
 27
      at *3; Thompson, I.G., L.L.C. v. Edgetech I.G., Inc., 2012 WL 3870563, at *5 (E.D.
 28

                                               10
      11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 15 of 22 Page ID
                                 #:24414



  1   Mich. Sept. 6, 2012) (noting that confidential information includes attorney work
  2   product).
  3           Dr. Yurukuglo participated in several communications over multiple years
  4   with attorneys from Langer Grogan & Diver containing confidential information.
  5   Such information included the attorneys’ thoughts regarding the data to request, the
  6   appropriate models to create in support of the plaintiffs’ case in Laumann, the
  7   relative strengths and weaknesses of the defendants’ expert opinions and Daubert
  8   motions, and strategy to prepare for deposing the defendants’ expert. See Diver
  9   Decl. ¶¶ 4-10. Importantly, Dr. Yurukoglu testified that he participated in
 10   confidential communications with the plaintiffs’ attorneys in Laumann. See Diver
 11   Decl. Ex. 9 at 22.23-23.3.
 12           There can be no dispute that the confidential information disclosed to Dr.
 13   Yurukoglu in Laumann is relevant to the issues in the present case. See Bell, 2019
 14   WL 1590472, at *7; Rhodes v. E.I. Du Pont De Nemours & Co., 558 F. Supp. 2d
 15   660, 667 (S.D. W. Va.) (“The confidential information must be sufficiently related
 16   to the instant litigation to merit disqualification.”). Both Laumann and this case
 17   involve antitrust violations stemming from a professional sports league’s
 18   restrictions on game telecasts. And both involve complex economic modeling
 19   associated with sports media rights.
 20           The NFL’s Daubert motion against Plaintiffs’ expert Dr. Zona amply
 21   demonstrates the overlap between Dr. Yurukoglu’s work in Laumann and the issues
 22   in this case. Where Dr. Yurukoglu was involved in discussing confidential
 23   information related to economic modeling in sports media in Laumann, he offers
 24   opinions on the same topic in this case. The NFL’s Daubert motion relies
 25   extensively on Dr. Yurukoglu’s analysis and cites to Laumann repeatedly
 26   throughout. See generally Dkt. No. 678-1. Similarly, the NFL’s opposition to class
 27   certification cites to both the Laumann case and Dr. Yurukoglu’s opinions in the
 28   same paragraph. See Dkt. No. 686 at 13. While the models are different between

                                              11
      11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 16 of 22 Page ID
                                 #:24415



  1   those used in Laumann and in this case, the NFL’s repeated citation to Laumann
  2   indicates its view that Dr. Yurukoglu’s work in Laumann is relevant to his work
  3   here. In any event, Dr. Yurukoglu was exposed to attorney work product in
  4   Laumann regarding the relative strengths and weaknesses of various approaches to
  5   model sports media rights that undoubtedly have relevance in this case. It is
  6   unquestionable that Dr. Yurukoglu’s confidential work in Laumann is “sufficiently
  7   related to the instant litigation to merit disqualification.” Rhodes, 558 F. Supp. 2d at
  8   667.
  9   III.    Policy Considerations Support Dr. Yurukoglu’s Disqualification.
 10           Given that a confidential relationship existed with Dr. Yurukoglu and he was
 11   privy to confidential information relevant to issues in the present case, the Court
 12   must balance policy considerations, such as prejudice to the parties and the integrity
 13   of the legal system. Those considerations balance in favor of Plaintiffs.
 14           Plaintiffs are clearly prejudiced by the NFL’s use of Dr. Yurukoglu in this
 15   litigation because of the risk of him disclosing confidential information to the NFL
 16   and its counsel in this litigation. The NFL would be able to obtain information that
 17   it otherwise would not be able to gain through the normal course of discovery. And
 18   while the NFL and Dr. Yurukoglu might claim that he will not disclose confidential
 19   information, he still risks unwittingly disclosing that information in his work for the
 20   NFL—a risk that the law forecloses. See Bell, 2019 WL 1590472, at *7 (collecting
 21   cases); Alien Tech Corp. v. Intermec, Inc., 2007 WL 4261972, at *2 (D.N.D. Nov.
 22   30, 2017); Calendar Research, 2017 WL 10378337, at *3 (“Even if Dr. Lee does
 23   not intend to use work for which she was retained by Calendar Research in her
 24   current engagement on StubHub’s behalf, inevitably [] her prior knowledge could
 25   be ‘unwittingly’ used on StubHub’s behalf.”). That is especially the case given the
 26   relevance of issues Dr. Yurukoglu worked on in Laumann to the claims and
 27   defenses in this action and given that some of the NFL’s counsel also represented
 28   defendants in Laumann. In fact, that risk is heightened where Dr. Yurukoglu

                                                12
      11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 17 of 22 Page ID
                                 #:24416



  1   admitted he has talked to the NFL’s counsel about his engagement in Laumann. See
  2   Diver Decl. Ex. 9 at 23.8-23.10.
  3           Plaintiffs are further prejudiced by the limitations they would face in cross-
  4   examining Dr. Yurukoglu. Attorneys from Langer Grogan & Diver are privy to
  5   confidential information from their work with Dr. Yurukoglu in Laumann that
  6   could be useful in testing his opinions in this case, such as statements made in e-
  7   mail correspondence or oral conversations. See Diver Decl. ¶ 11. But how could
  8   Plaintiffs’ counsel cross-examine Dr. Yurukoglu in this case without likewise
  9   relying on confidential information from Laumann? In short: they can’t. For
 10   example, the NFL relies heavily on the exclusion of the model in Laumann in
 11   opposing class certification and to exclude the opinions of Plaintiffs’ expert Dr.
 12   Zona. Dr. Yurukoglu’s opinions about the merits of the model in Laumann, which
 13   he helped to create, and of the court’s decision to exclude that model, are highly
 14   relevant. But Plaintiffs would be hamstrung in their ability to question him on those
 15   issues given Langer Grogan & Diver’s awareness of what Dr. Yurukoglu has stated
 16   about the model in Laumann and the court’s decision regarding it. The mere fact
 17   that Dr. Yurukoglu was involved in that model suggests that his view and that of
 18   the Laumann court are not fully aligned. But Plaintiffs could not explore that
 19   tension without relying on confidential information.
 20           As for the NFL, the need to obtain a new expert is insufficient to show
 21   prejudice. See Bell, 2019 WL 1590472, at *7 (“BNR has not established how it
 22   would be prejudiced by the exclusion beyond the need to obtain a new expert.”).
 23   There is more than enough time for the NFL to retain a new expert given that trial
 24   in this action is scheduled for February 2024—more than a year from now. See Dkt.
 25   No. 434 at 5; see also Broadcom, 2010 WL 11465478, at *4 (“[T]he retention of
 26   another expert is unlikely to disrupt the case schedule.”). Moreover, expert
 27   discovery is far from complete as the case is only at the class certification stage.
 28   The case schedule provides time after class certification for merits expert discovery,

                                                13
      11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 18 of 22 Page ID
                                 #:24417



  1   with the NFL’s expert reports due no earlier than April 2023 and expert discovery
  2   closing more than six months from now. See id.
  3           Any potential prejudice to the NFL is also minimized given the NFL’s
  4   awareness of Dr. Yurukoglu’s work in Laumann and failure to exercise reasonable
  5   diligence in clearing the conflict. Cf. Nijjar v. General Star Indemnity Co., 2014
  6   WL 271630, at *2-3 (C.D. Cal. Jan. 23, 2014). The NFL created the situation that it
  7   finds itself in: the NFL’s counsel was fully aware of Dr. Yurukoglu’s role in
  8   Laumann and should have been aware of the potential conflict of interest. The NFL
  9   knew what it was doing in retaining him and proceeded nevertheless. That the NFL
 10   may need to find a new expert because of its own failings is hardly prejudicial.
 11           The integrity of the legal process also compels disqualification. If Dr.
 12   Yurukoglu remains in this case, he will be operating continuously under the cloud
 13   of a conflict of interest that is detrimental to the integrity of the legal process. See
 14   Pellerin v. Honeywell Int’l Inc., 2012 WL 112539, at *3 (S.D. Cal. Jan. 12, 2012)
 15   (“[T]he human brain does not compartmentalize information in that manner.”).
 16   Integrity requires holding experts to be held to their confidentiality obligations and
 17   disincentivize them from selling their opinions to the highest bidder. Bell, 2019 WL
 18   1590472, at *8; M&T Bank v. Worldwide Supply LLC, 2022 WL 16743689, at *5
 19   (D.N.J. June 28, 2022). This is especially the case where Dr. Yurukoglu works for
 20   an expert consulting firm, Compass Lexecon, known for having “relaxed its conflict
 21   of interest rules” such that it has been known to—sometimes without prior notice to
 22   the parties in a case—advise both sides in a case. Jesse Eisinger & Justin Elliott,
 23   “These Professors Make More Than a Thousand Bucks an Hour Peddling Mega-
 24   Mergers, ProPublica (Nov. 16, 2016), https://www.propublica.org/article/these-
 25   professors-make-more-than-thousand-bucks-hour-peddling-mega-mergers.
 26           While the integrity of the legal process cautions against “unscrupulous
 27   attorneys [that] may attempt to create relationships with numerous potential experts
 28   at a nominal fee hoping to preempt the ability of their adversaries to obtain expert

                                                14
      11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 19 of 22 Page ID
                                 #:24418



  1   assistance,” this is not that case. Broadcom, 2010 WL 11465478, at *5. Langer
  2   Grogan & Diver paid Dr. Yurukoglu nearly $40,000 over the course of multiple
  3   years to perform services in the Laumann case. And there is no evidence that
  4   Langer Grogan & Diver retained Dr. Yurukoglu or any other expert in Laumann
  5   purely to preempt future adversaries from obtaining expert assistance.
  6           Dr. Yurukoglu’s involvement here “does not pass the smell test” and is
  7   “analogous to an expert switching sides mid-litigation.” Thompson, 2012 WL
  8   3870563, at *7. Plaintiffs’ co-lead counsel in this case have over 100 years
  9   combined of experience practicing law and have never encountered an expert that
 10   has switched sides in the manner that Dr. Yurukoglu has in this case. Given his
 11   confidential work in Laumann, he should be disqualified.
 12   IV.     The Court Should Compel the Production of Communications Between
              Dr. Yurkoglu and the NFL.
 13
              Not only is there a substantial risk that Dr. Yurukoglu may share confidential
 14
      information from his work on Laumann with the NFL and its counsel, but the
 15
      record indicates that such disclosure may have already happened. Dr. Yurukoglu
 16
      acknowledged at his deposition that he has discussed his prior work on Laumann
 17
      with the NFL’s attorneys. See Diver Decl. Ex. 9 at 23.8-23.10. When Plaintiffs
 18
      attempted to follow-up on that admission, the NFL’s counsel repeatedly instructed
 19
      Dr. Yurukoglu not to answer the question. See id. at 23.11-23.25, 24.11-25.2.
 20
      Combined with the NFL’s repeated references to both Laumann and Dr. Yurukoglu
 21
      in its Daubert motion against Dr. Zona and its opposition to class certification, it
 22
      appears likely that confidential information has been improperly shared with the
 23
      NFL and its counsel. In fact, it would appear—especially given that the NFL’s
 24
      counsel appeared in Laumann—that Dr. Yurukoglu’s retention was aimed at
 25
      acquiring that information and would constitute serious ethical breaches. See
 26
      Campbell, 619 F.2d at 27 (holding that contact with expert retained by the other
 27
      side was a “flagrant abuse” of discovery rules); Godby v. U.S. Dist. Ct. for Dist. of
 28

                                                15
      11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 20 of 22 Page ID
                                 #:24419



  1   Ariz., 229 F.3d 1157, 2000 WL 975184 (9th Cir. 2000); Erickson v. Newmar Corp.,
  2   87 F.3d 298, 301-02 (9th Cir. 1996).
  3           While actual disclosure is not required to disqualify Dr. Yurukoglu from this
  4   case, it may necessitate going a step further to disqualify the NFL’s counsel as well.
  5   See Kane v. Chobani, Inc., 2013 WL 3991107, at *7-15 (N.D. Cal. Aug. 2, 2013);
  6   Cordy v. Sherwin-Williams Co., 156 F.R.D. 575, 579-85 (D.N.J. 1994); Grant
  7   Heilman Photography, Inc. v. McGraw-Hill Global Education Holdings, LLC, 2018
  8   WL 2065060, at *13 (E.D. Pa. 2018); see also Shadow Traffic Network v. Superior
  9   Court, 24 Cal. Rptr. 693, 699-705 (Ct. App. 1994). Under these extraordinary
 10   circumstances, the Court should require the NFL to produce all of its
 11   communications with Dr. Yurukoglu since the time he was retained. Moreover, the
 12   Court should compel the NFL to produce Dr. Yurukoglu for a second deposition
 13   limited to his communications with the NFL and its counsel regarding his
 14   engagement in the Laumann case.
 15                                     CONCLUSION
 16           For the foregoing reasons, Plaintiffs respectfully request that the Court
 17   disqualify Dr. Ali Yurukoglu as an expert in this case and, therefore, strike his
 18   opinions from the record. The Court should also prohibit the NFL and any of its
 19   experts from relying on the work provided by Dr. Yurukoglu. Given the need to
 20   examine whether confidential information was actually shared with the NFL and its
 21   counsel, the Court should also compel the NFL to produce all of its
 22   communications with Dr. Yurukoglu and require the NFL to produce Dr.
 23   Yurukoglu for a deposition on the topics raised within this motion.
 24
 25
          Dated: December 2, 2022            Respectfully submitted,
 26
 27                                          By:     /s/ Edward Diver
                                                     Edward Diver
 28

                                                16
      11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 21 of 22 Page ID
                                 #:24420



  1                                         Marc M. Seltzer (54534)
                                            mseltzer@susmangodfrey.com
  2                                         SUSMAN GODFREY L.L.P.
                                            1900 Avenue of the Stars, Suite 1400
  3                                         Los Angeles, CA 90067
                                            Tel: (310) 789-3100
  4                                         Fax: (310) 789-3150
  5                                         Arun Subramanian (Pro Hac Vice)
                                            asubramanian@susmangodfrey.com
  6                                         William C. Carmody (Pro Hac Vice)
                                            bcarmody@susmangodfrey.com
  7                                         Seth Ard (Pro Hac Vice)
                                            sard@susmangodfrey.com
  8                                         Tyler Finn (Pro Hac Vice)
                                            tfinn@susmangodfrey.com
  9                                         SUSMAN GODFREY L.L.P
                                            1301 Avenue of the Americas, 32nd Fl.
 10                                         New York, NY 10019
                                            Tel: (212) 336-8330
 11                                         Fax: (212) 336-8340
 12                                         Ian M. Gore (Pro Hac Vice)
                                            igore@susmangodfrey.com
 13                                         SUSMAN GODFREY L.L.P.
                                            1201 Third Avenue, Suite 3800
 14                                         Seattle, WA 98101
                                            Tel: (206) 505-3841
 15                                         Fax: (206) 516-3883
 16                                         Scott Martin (Pro Hac Vice)
                                            smartin@hausfeld.com
 17                                         HAUSFELD LLP
                                            33 Whitehall Street, 14th Floor
 18                                         New York, NY 10004
                                            Tel: (646) 357-1100
 19                                         Fax: (212) 202-4322
 20                                         Christopher L. Lebsock (184546)
                                            clebsock@hausfled.com
 21                                         HAUSFELD LLP
                                            600 Montgomery St., Suite 3200
 22                                         San Francisco, CA 94111
                                            Tel: (415) 633-1908
 23                                         Fax: (415) 633-4980
 24                                         Sathya S. Gosselin (269171)
                                            sgosselin@hausfeld.com
 25                                         Farhad Mirzadeh (Pro Hac Vice)
                                            fmirzadeh@hausfeld.com
 26                                         HAUSFELD LLP
                                            888 16th Street, N.W., Suite 300
 27                                         Washington, DC 20006
                                            Tel: (202) 540-7200
 28                                         Fax: (202) 540-7201

                                          17
      11125869v1/014918
Case 2:15-ml-02668-PSG-SK Document 765-1 Filed 12/06/22 Page 22 of 22 Page ID
                                 #:24421



  1                                         Howard Langer (Pro Hac Vice)
                                            hlanger@langergrogan.com
  2                                         Edward Diver (Pro Hac Vice)
                                            ndiver@langergrogan.com
  3                                         Peter Leckman (235721)
  4                                         pleckman@langergrogan.com
                                            Kevin Trainer (Pro Hac Vice)
  5                                         ktrainer@langergrogan.com
                                            LANGER GROGAN AND DIVER PC
  6                                         1717 Arch Street, Suite 4020
                                            Philadelphia, PA 19103
  7                                         Tel: (215) 320-5660
                                            Fax: (215) 320-5703
  8
                                            Plaintiffs’ Co-Lead Counsel
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                          18
      11125869v1/014918
